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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: DAVOL, INC./C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH
PRODUCTS LIABILITY LITIGATION
      (PC) Greschner v. California Department of Corrections            )
            & Rehabilitation, et al.,                                   )                  MDL No. 2846
            S.D. Ohio, C.A. No. 2:18-00769                              )
            (E.D. California, C.A. No. 2:15-01663)                      )


                              SEPARATION OF CERTAIN CLAIMS
                             AND CONDITIONAL REMAND ORDER


The transferee court in this litigation has advised the Panel, as provided in 28 U.S.C. § 1407(a), that
remand to the transferor court of certain claims in the action on this conditional remand order is
appropriate. It appears that plaintiff has asserted two sets of claims in this action: (1) product liability
claims against defendants C.R. Bard, Inc., and Davol, Inc., for defective surgical hernia mesh; and (2)
claims against other defendants, including constitutional law violations pursuant to 42 U.S.C. § 1983,
negligence under California Civil Code §1714(a), and medical malpractice pursuant to California Civil
Code § 1714(a). The transferee court’s Order and Suggestion of Remand recommends that all claims
against the non-hernia mesh defendants be remanded.

IT IS THEREFORE ORDERED that all claims filed against any defendant other than C.R. Bard, Inc.,
and Davol, Inc., are separated and remanded to the transferor court.

IT IS ALSO ORDERED that, pursuant to Rule 10.2 of the Rules of Procedure of the United States
Judicial Panel on Multidistrict Litigation, the transmittal of this order to the transferee clerk for filing
shall be stayed 7 days from the date of this order. If any party files a notice of opposition with the Clerk
of the Panel within this 7-day period, the stay will be continued until further order of the Panel. This
order does not become effective until it is filed in the office of the Clerk for the United States District
Court for the Southern District of Ohio.

IT IS FURTHER ORDERED that, pursuant to Rule 10.4(a), the parties shall furnish the Clerk for the
Southern District of Ohio with a stipulation or designation of the contents of the record to be remanded.


                                                        FOR THE PANEL:
                       Mar 13, 2019

                                                        Jeffery N. Lüthi
                                                        Clerk of the Panel
